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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA

VS.                                                             CRIMINAL NO. 1:12cr12-KS-7

BILLY PAUL LEE

                                             ORDER

       BE IT REMEMBERED that the above styled case appeared on the Civil Justice Reform

Act (CJRA) Report for the first time in several years on or about June 20, 2016. The above

styled and numbered cause has been closed. There remain two pending motions on ECF.

Motion [307] Motion to Vacate Under 28 U.S.C. § 2255, and Motion [310] to Amend/Correct

Clerical Error. The Defendant herein, Billy Paul Lee, was entitled to a sentence reduction under

18 U.S.C. § 3582(c)(2) and on April 8, 2015, an Order [380] was entered granting him the

reduction. Additionally, on April 8, 2015 an Order [379] was entered correcting the clerical

error. Therefore, these motions are both moot and it is ordered that said motions be mooted for

statistical purposes. The case remains finally closed.

       SO ORDERED on this the 22nd day of June, 2016.

                                      s/Keith Starrett
                                      UNITED STATES DISTRICT JUDGE
